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  ORAL ARGUMENT SCHEDULED FOR SEPTEMBER 16, 2024
                     No. 24-1113, 24-1130, 24-1183

             UNITED STATES COURT OF APPEALS
                   FOR THE D.C. CIRCUIT


                      TIKTOK INC. AND BYTEDANCE LTD.,
                                         Petitioners,
                                  v.
MERRICK B. GARLAND, in his official capacity as Attorney General of the
                           United States,
                                         Respondent.
consolidated with
                                         caption continued on inside cover
            On Petitions for Review of Constitutionality of
               the Protecting Americans from Foreign
               Adversary Controlled Applications Act
                BRIEF OF AMICI CURIAE
          FORMER NATIONAL SECURITY OFFICIALS



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       BRIAN FIREBAUGH, CHLOE JOY SEXTON, TALIA CADET, TIMOTHY
    MARTIN, KIERA SPANN, PAUL TRAN, CHRISTOPHER TOWNSEND, and
                           STEVEN KING
                                         Petitioners,
                                  v.
MERRICK B. GARLAND, in his official capacity as Attorney General of the
                           United States,
                                         Respondent.




                           BASED POLITICS INC.
                                         Petitioners,
                                  v.
MERRICK B. GARLAND, in his official capacity as Attorney General of the
                           United States,
                                         Respondent.
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         CERTIFICATE AS TO PARTIES, RULINGS, AND
                     RELATED CASES

     Pursuant to D.C. Circuit Rules 26.1 and 28(a)(1) and Fed. R. App.

26.1 the undersigned counsel certifies as follows:

A. Parties and Amici

     The parties to TikTok Inc. v. Garland, No. 24-1113, are Petitioners

TikTok Inc and ByteDance Ltd., and Respondent Merrick B. Garland, in

his official capacity as Attorney General of the United States. The parties

to the first consolidated case, Firebaugh v. Garland, No. 24-1130, are the

Creator Petitioners and Respondent Garland, in his official capacity as

Attorney General of the United States. The parties to the second consol-

idated case, BASED Politics Inc. v. Garland, No. 24-1183, are Petitioner

BASED Politics Inc. and Respondent Garland, in his official capacity as

Attorney General of the United States. As of the finalization of this brief,

the following amici have either filed a brief or a notice of intent to partic-

ipate: Electronic Frontier Foundation, Freedom of the Press Foundation,

TechFreedom, Media Law Resource Center, Center for Democracy and

Technology, First Amendment Coalition, Freedom to Read Foundation,

The Cato Institute, Professor Matthew Steilen, Arizona Asian American

Native Hawaiian and Pacific Islander for Equity Coalition, Asian


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American Federation, Asian Americans Advancing Justice Southern Cal-

ifornia, Calos Coalition, Hispanic Heritage Foundation, Muslim Public

Affairs Council, Native Realities, OCA-Asian Pacific American Advocates

of Greater Seattle, South Asian Legal Defense Fund; Sikh Coalition, Sad-

hana, San Francisco, Knight First Amendment Institute at Columbia

University, Free Press, Pen American Center, Milton Mueller, Timothy

H. Edgar, Susan A. Aaronson, Hans Klein, Hungry Panda US, Inc., Shub-

hangi Agarwalla, Enrique Armijo, Derek Bambauer, Jane Bambauer,

Elettra Bietti, Ashutoh Bhagwat, Stuart N. Brotman, Anupam Chander,

Erwin Chemerinsky, James Grimmelmann, Nikolas Guggenberger, G.S.

Hans, Robert A. Heverly, Michael Karanicolas, Kate Klonick, Mark Lem-

ley, David S. Levine, Yvette Joy Liebesman, Dylan K. Moses, Sean

O’Brien, Christopher J. Sprigman.

     Because these petitions were filed directly in this Court, there were

no district court proceedings in any of the cases.

B. Rulings Under Review

     The petitions seek direct review of the constitutionality of the Pro-

tecting Americans from Foreign Adversary Controlled Applications Act




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(H.R. 815, Div. H, 118th Cong., Pub. L. No. 118-50 (April 24, 2024). There

were no district court proceedings in any of the cases.

C. Related Cases

     Amici are not aware of any other case pending before this or any

other court that is related.



Dated: August 2, 2024                     /s/ Thomas R. McCarthy
                                          Thomas R. McCarthy

                                          Counsel for Amici Curiae




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                             GLOSSARY


 Act          Protecting Americans from Foreign Adversary Controlled
              Applications Act
 CCP          Chinese Communist Party
 DNI          Director of National Intelligence
 FBI          Federal Bureau of Investigation
 OMB          Office of Management and Budget
 OPM          Office of Personnel Management




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                     INTEREST OF AMICI CURIAE

      Amici curiae are former national security government officials in

their individual capacities. 1 Amici are filing this brief to address the na-

tional security concerns surrounding TikTok, ByteDance, and those enti-

ties’ ties to a foreign adversary—the Chinese Communist Party.

      Amici have served at the highest levels of government, in national

security, intelligence, and foreign policy roles. They have served under

different administrations, for leaders of different political parties, during

different global conflicts, and have different foreign policy concerns. De-

spite their differences, amici have all served with a common goal and

purpose: securing this Nation and protecting it from foreign threats. Tik-

Tok presents one such critical foreign threat. As former government offi-

cials and as national security experts, amici have a strong interest in en-

suring that the Court understands and appreciates the national security

interests at stake in this litigation. Amici are identified in Appendix A.




1 No counsel for a party authored this brief in whole or in part, and no

party or counsel for a party made a monetary contribution intended to
fund its preparation or submission. No person other than the amici or
their counsel made a monetary contribution to the preparation or sub-
mission of this brief.

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                     SUMMARY OF ARGUMENT

      Approximately 170 million Americans use TikTok. Like other social

media applications, TikTok collects massive amounts of personal data on

its users, and TikTok has a proprietary algorithm that curates what each

user sees on the app. Unlike other social media applications, however,

TikTok is subject to the direction and control of the Chinese Communist

Party. Congress, recognizing the national security threat posed by CCP

control over TikTok sought to address this threat by enacting the Pro-

tecting Americans from Foreign Adversary Controlled Applications Act.

      TikTok is owned by a Chinese company beholden to the Chinese

Communist Party. Chinese government control over TikTok affords the

CCP direct access to the massive amounts of personal data of those 170

million American TikTok users, and it allows the CCP to manipulate

what those Americans see and share on TikTok. The former enables the

CCP to collect, use, and exploit those vast swaths of personal information

for its own benefit. As FBI Director Wray put it, TikTok is “one of the

most valuable surveillance tools on the planet.” Hearing on the 2023 An-

nual Threat Assessment of the U.S. Intelligence Community at 1:09:00,

U.S. Senate Select Comm. Intelligence Hearing (Mar. 8, 2023) (testimony



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of   Director    Wray)     (“2023       Threat      Assessment       Hearing”),

https://perma.cc/3YJG-XQDJ. And the latter enables the CCP to deploy

TikTok as a widescale propaganda and misinformation machine to influ-

ence American policy debates. Indeed, TikTok sent its 170 million Amer-

ican users a prompt mischaracterizing the Act’s divestment requirement

as a flat ban on TikTok and encouraging them to call their representa-

tives in Congress to oppose the Act. Sapna Maheshwari & David McCabe,

TikTok Prompts Users to call Congress to Fight Possible Ban, N.Y. Times

(Mar. 7, 2024), https://perma.cc/GD3J-QNPV.

      Amici agree with the United States that the Act is a lawful exercise

of Congressional authority to protect national security and that it does

not run afoul of the First Amendment or any other Constitutional pro-

scription. Amici write separately to underscore the grave national-secu-

rity threats posed by Chinese control of TikTok; to highlight TikTok’s

failure to take any meaningful action to reduce those threats; and to ex-

plain that the compelling national security interests behind the Act over-

come any applicable level of First Amendment scrutiny.




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                              ARGUMENT

I.    The Chinese government’s control of TikTok presents a
      novel and serious national security threat.

      TikTok presents a serious and unique national security threat to

the United States because the data it collects is made available to the

Chinese Communist Party and its ability to influence information shared

through the application is subject to the direction and control of the CCP.

TikTok collects massive amounts of information about the 170 million

Americans using its application. USA.Br. 1, 18-39; House lawmakers

deeply concerned over TikTok despite CEO’s testimony, CBS News (Mar.

23, 2023), https://perma.cc/H95J-PETG. TikTok acknowledges that it au-

tomatically collects, among other things, its users profile information and

image; connections between individual users; content shared between us-

ers; private messages; information found in a device’s clipboard; and pur-

chase and payment information. Privacy Policy, TikTok (last updated

July 1, 2024), https://perma.cc/RV8S-U38H. Along with this information,

TikTok collects voice and location data, and, perhaps most troublingly,

the application may listent to users even when they are not using the

application and even when their privacy settings are set to prohibit such

collection. The Select: ‘TikTok Special’-A weekly Committee Recap (Mar.


                                    3
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8, 2024), https://perma.cc/Z7YH-SW9S. In the aggregate, this vast da-

taset provides significant and deep insights into those using TikTok’s ap-

plication.

       What makes TikTok unique from other social-media applications is

that the CCP has direct access to this vast dataset. TikTok is owned by

ByteDance, a Chinese corporation that is “beholden to the CCP.” Hearing

on 2024 Annual Threat Assessment at 1:09:50, U.S. Senate Select Com-

mittee Intelligence Hearing (Mar. 11, 2024) (statement of Director Wray),

https://perma.cc/5ZMS-ZVR4; see also Annual Threat Assessment of the

U.S.    Intelligence    Community,       DNI   Office    (Feb.     5,   2024),

https://perma.cc/NLG3-Z6R7. And China’s National Intelligence Law re-

quires ByteDance and TikTok to assist with intelligence gathering. Letter

from Rep. Mike Gallagher to Christopher Wray, FBI Director, at 1 (Dec.

7, 2023), https://perma.cc/R352-UFKG. This means that ByteDance must

provide China’s intelligence agencies with direct access to the extensive

personal data TikTok collects on its more than 170 million American us-

ers. See Safeguarding Our Future, The National Counterintelligence and

Security Center, https://perma.cc/549G-W4X2; see also USA.Br. 17.




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      Beyond the access the CCP has to the data of American citizens, it

is well-documented that the CCP also has significant internal influence

over TikTok. The CCP requires certain companies, like TikTok, to host

an internal party committee, which has the “sole function” of ensuring

“compliance with [CCP] orthodoxy.” See Hearing on Oversight of the Fed-

eral Bureau of Investigation at 3:19:00, House Judiciary Committee (July

12, 2023) (statement of Director Wray), https://perma.cc/87HV-YR8D; see

also Kevin Breuninger & Eamon Javers, Communist Party cells influenc-

ing U.S. companies’ China operations, CNBC (July 12, 2023),

https://perma.cc/TU6B-GHYV. In some cases, the company’s charter di-

rectly incorporates these internal party committees, giving the CCP even

more power over “management decisions” and ensuring that CCP person-

nel “serve in management or board positions.” Scott Livingston, The New

Challenge of Communist Corporate Governance, Ctr. for Strategic & Int’l

Studies (Jan. 2021), https://perma.cc/X3KY-AYLC; see also Lauren Yu-

Hsin Lin & Curtis J. Milhaupt, CCP Influence over China’s Corporate

Governance, Stanford Ctr. on China’s Economy and Institutions (updated

Nov. 1, 2022), https://perma.cc/PYL3-DDN2.




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      Taken together, this means that TikTok automatically collects sub-

stantial amounts of data on over 170 million Americans, which is then

directly accessible by the CCP—whether through Chinese intelligence

laws or through internal pressure and control from those planted within

the company to carry out CCP’s policy objectives. Indeed, a former TikTok

executive confirmed that CCP members were specifically stationed at

ByteDance in order to review data collected through TikTok, and to in-

fluence internal decisions about how the TikTok algorithm works to con-

vey information to its users, including more than 170 million Americans.

See Zen Soo, Former ByteDance executive says Chinese Communist Party

tracked Hong Kong protesters via data, AP News (June 7, 2023),

https://perma.cc/K9HB-XDBL; Thomas Fuller & Sapna Maheshwari, Ex-

ByteDance Executive Accuses Company of ‘Lawlessness,’ N.Y. Times (May

12, 2023), perma.cc/DE96-KD7G. The pressure the CCP exerts on TikTok

and its parent, ByteDance, is also readily apparent. For example, last

year, ByteDance executives publicly apologized for deviating from “so-

cialist core values” for “vulgar” content on one of its other applications.

See Yaqiu Wang, The Problem with TikTok’s Claim of Independence from

Beijing, The Hill (Mar. 24, 2023), https://perma.cc/L44R-U9HL. And



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ByteDance has used its data collection to track political activity, includ-

ing activities of Hong Kong protestors and commentary by American

journalists. See Emily Baker-White, EXCLUSIVE: TikTok Spied on

Forbes Journalists, Forbes (Dec. 22, 2022), https://perma.cc/XUS8-ATNP;

Soo, supra; TikTok: How Congress Can Safeguard American Data Pri-

vacy, Hearing Before the H. Comm. on Energy & Commerce, 118th Cong.

(2023) (“2023 House Data Privacy Hearing”). The CCP’s control over Tik-

Tok and its direct access to the personal data of 170 million Americans

standing alone therefore presents grave national security concerns.

      These concerns are only heightened by the fact that the Chinese

government has access to massive amounts of additional highly sensitive

data—data belonging to hundreds of millions of Americans that China

has obtained through cyber operations undertaken by sophisticated Chi-

nese-government intelligence and military hackers. See, e.g., Member of

Sophisticated China-Based Hacking Group Indicted for Series of Com-

puter Intrusions, Dep’t of Justice (May 9, 2019) (“Anthem Breach”),

https://perma.cc/77P4-T7Y5; Chinese Military Hackers Charged in

Equifax Breach, Federal Bureau of Investigation (Feb. 10, 2020)

(“Equifax Breach”), https://perma.cc/7JPH-G2EC; David E. Sanger, et al.,



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Marriott Data Breach is Traced to Chinese Hackers, N.Y. Times (Dec. 11,

2018), https://perma.cc/3EJT-BPL9; Attorney General William P. Barr

Announces Indictment of Four Members of China’s Military for Hacking

into Equifax, Dep’t of Justice (Feb. 10, 2020), https://perma.cc/9GRX-

QR4V. In the OPM breach, hackers working on behalf of the Chinese gov-

ernment exfiltrated over 20 million personnel records of American gov-

ernment employees holding Top Secret/Sensitive Compartmented Infor-

mation (TS/SCI) clearances, collecting social security numbers, dates and

places of birth, addresses, and detailed background check data—includ-

ing “financial data; information about spouses, children and past roman-

tic relationships; and any meetings with foreigners”—on the very govern-

ment employees that the U.S. government entrusts with its most sensi-

tive classified intelligence information. See Sanger, supra. Through the

Anthem hack, the Chinese government also obtained the addresses, birth

dates, and social security numbers of more than 78 million Americans

and may also have obtained protected health information. See Anthem

Breach, supra. Likewise, in the Equifax data breach, Chinese military

hackers working for the People’s Liberation Army (PLA) obtained the

highly sensitive personal data of 145 million Americans—nearly half the



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U.S. population—potentially including financially sensitive creditworthi-

ness information. See, e.g., Equifax Breach, supra; see also Criminal In-

dictment, United States v. Zhiyong, 1:20-cr-00046, Doc. 1 (N.D. Ga. Jan.

28, 2020). And in the Marriott hack, Chinese hackers working for the

Ministry of State Security, a key CCP intelligence agency, obtained the

personal details of approximately 500 million guests at the “top hotel pro-

vider for American government and military personnel,” including hotel

stays and passport information. See Sanger, supra.

      Collectively, the Chinese government has access to information

about Americans’ day-to-day routines from TikTok—cataloguing who

these Americans interact with, what they do, and where they go—as well

as access to many of these individuals’ most sensitive personal infor-

mation. See US House passes bill that would ban TikTok, Live Now Fox

(Mar. 13, 2024) (statement of Jamil Jaffer), https://perma.cc/9M77-

TQNW. The CCP can exploit this massive trove of sensitive data to power

sophisticated artificial intelligence (AI) capabilities that can then be used

to identify Americans for intelligence collection, to conduct advanced elec-

tronic and human intelligence operations, and may even be weaponized

to undermine the political and economic stability of the United States



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and our allies. Id.; see also Sanger, supra (“Such information is exactly

what the Chinese use to … build a rich repository of Americans’ personal

data for future targeting.”). Indeed, according to former CIA Director

Gen. (Ret.) Michael Hayden, speaking about the OPM data breach spe-

cifically, there isn’t “recovery from what was lost…[i]t remains a treasure

trove of information that is available to the Chinese until the people rep-

resented by the information age off[]…[t]here’s no fixing it.” Dan Verton,

Impact of OPM breach could last more than 40 years, FEDSCOOP (July

10, 2015), https://perma.cc/E6QH-JHLU. The combined national security

impact of these hacks—when added to the sensitive social networking,

location, and behavioral information on 170 million Americans available

to the Chinese government through its direct access to TikTok data—is

thus nearly impossible to overstate.

      And it only gets worse. The CCP also uses TikTok as both a propa-

ganda and misinformation tool to wield influence over Americans by

pushing specific CCP-chosen content while hiding its source. Indeed,

most young Americans today do not use TikTok simply to watch or “pro-

mote weird dance videos.” The Select: ‘TikTok Special,’ supra (statement

of Chairman Gallagher). To the contrary, TikTok is the “dominant news



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platform for Americans under 30.” Id.; see also TikTok.Br. 41. Given the

CCP’s external and internal influence over ByteDance and TikTok, the

reliance by young people on TikTok for their daily news feed ensures that

the CCP maintains editorial control over the content it gets tens of mil-

lions of American young people to consume every single day.

      TikTok and ByteDance also have the power to boost certain videos

and themes through their proprietary and confidential recommendation

algorithm providing CCP officials yet another methodology for shaping

the content seen and shared by American TikTok users. See Emily Baker-

White, TikTok’s Secret ‘Heating’ Button Can Make Anyone Go Viral,

Forbes (Jan. 20, 2023), https://perma.cc/RW78-KTV9. For example, Tik-

Tok sent 170 million Americans a prompt encouraging them to call their

representatives in Congress to oppose the very legislation before this

Court. Maheshwari & McCabe, supra. This lobbying effort—created and

driven by ByteDance, a CCP-proxy—prompted a “flood of phone calls” to

congressional offices to oppose a purported “TikTok shutdown.” Id. This

example alone underscores how the CCP can deploy TikTok as a highly

effective propaganda and misinformation tool to influence American pol-

icy debates.



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      Likewise, there is strong evidence that the TikTok content algo-

rithm is built to effectuate the interests of the CCP and to limit content

that might undermine its interests. For example, in 2023, the Network

Contagion Research Institute released a report highlighting that the Tik-

Tok recommendation algorithm regularly down-prioritized content criti-

cal of the Chinese regime or supportive of the Hong Kong protestors. A

Tik-Tok-ing Timebomb, NCRI and Rutgers Miller Center (Dec. 2023),

https://perma.cc/4RFG-69RE; see also Fergus Ryan, et al., TikTok and

WeChat: Curating and Controlling Global Information Flows, Australian

Strategic Policy Institute (2020), https://perma.cc/K3SF-DH2H. Such de-

cisions are not random and instead point to a concerted effort by TikTok

and ByteDance to effectuate the CCP’s goals and interests.

      Similarly, the TikTok algorithm at times seeks to undermine Amer-

ican and allied interests. For example, in November 2023, in the after-

math of the horrific October 7 terrorist attacks conducted by Hamas in

Israel, a flood of videos, one feeding off the other, praising Osama bin

Laden’s 2002 “Letter to America,” were promoted across American feeds

by the TikTok algorithm. See Donie O’Sullivan, et al., Some young Amer-

icans on TikTok say they sympathize with Osama bin Laden, CNN (Nov.



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16, 2023), https://perma.cc/D6ST-9UL7. Without access to TikTok’s pro-

prietary algorithm, lawmakers questioned whether TikTok—controlled

by the CCP—was affirmatively boosting the video. Alexander Ward &

Matt Berg, Why bin Laden’s letter went viral on social media, Politico

(Nov. 16, 2023), https://perma.cc/4FSS-QYEW. Regardless whether Tik-

Tok affirmatively boosted the videos, two prominent Australian research-

ers recently explained that the Bin Laden incident demonstrates how

“TikTok adds a force multiplier effect for disinformation [campaigns]”

and noted that “[w]ith more than two billion TikTok users, a strategically

crafted misinformation campaign can have a high chance of success,”

highlighting the “potential for [such videos]…to be[] a severe national se-

curity threat and have dangerous consequences.” Sascha-Dominik (Dov)

Bachmann & Dr. Mohiuddin Ahmed, Bin Laden’s “Letter to America”:

TikTok and Information Warfare, Aus. Inst. of Int’l Affairs (Dec. 1, 2023),

https://perma.cc/4Y5D-NGCH.

      Each of these aspects of Chinese control over TikTok—the massive

information gathering efforts, the internal pressure and control over com-

pany policy, the use of TikTok in combination with the fruits of CCP-

coordinated   hacking    efforts,   and   the    propaganda         machine—is



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independently problematic from a national security perspective. To-

gether, they demonstrate that Chinese control of TikTok “poses a clear

and present threat to America.” The Select: ‘TikTok Special,’ supra.

II.   The Act is a measured step to resolve the national security
      concerns posed by the Chinese government’s control of Tik-
      Tok.

      The record here is “replete with evidence” of the national security

harms posed by the Chinese government’s ownership of TikTok. See

Heart of Atlanta Motel, Inc. v. United States, 379 U.S. 241, 252 (1964);

Hamdi v. Rumsfeld, 542 U.S. 507, 539 (2004). The Executive Branch and

bipartisan majorities in Congress have highlighted these concerns and

worked to address them directly. Because TikTok has failed to meaning-

fully address these concerns, Congress passed the Act, and the President

signed it into law specifically to address the grave national security

harms threatened by Chinese control over TikTok.

      A. The political branches have flagged the national security
         concerns posed by Chinese control of TikTok.

      The Executive Branch. The Executive Branch has been raising

concerns about TikTok for years. In 2019, CFIUS reviewed ByteDance’s

acquisition of musical.ly, citing national security concerns. President’s

Decision Regarding the Acquisition by ByteDance Ltd. of the U.S.


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Business of muical.ly, U.S. Dep’t of Treasury (Aug. 14, 2020). Following

this review, and pursuant to statutory authority, President Trump or-

dered ByteDance to divest certain assets “used to enable or support

ByteDance’s operation of the TikTok application in the United States.”

Statement by Secretary Steven T. Mnuchin Regarding the Acquisition of

Musical.ly by ByteDance Ltd., 85 Fed. Reg. 51297, 51297 (Aug. 14, 2020);

see also Addressing the Threat Posed by TikTok, 85 Fed. Reg. 48637-38

(Aug. 6, 2020). In the Executive Order, the President described how Tik-

Tok’s data collection “threatens to allow the Chinese Communist Party

access to Americans’ personal and proprietary information.” Id. at 48637.

Specifically, the President explained that this data would allow “China

to track the locations of Federal employees and contractors, build dossi-

ers of personal information for blackmail, and conduct corporate espio-

nage.” Id.

      While President Biden revoked this Order in favor of taking other

action, he continued to press the issues arising at the intersection of na-

tional security and data collection, including specifically addressing the

threat posed by TikTok and ByteDance. See Protecting Americans’ Sensi-

tive Data from Foreign Adversaries, 86 Fed. Reg. 31423 (June 9, 2021).



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Following the passage of legislation on the use of TikTok on government

devices, White House rapidly implemented guidance to effectuate the re-

moval of TikTok from government devices. See Memorandum for the

Heads of Executive Departments and Agencies, “No TikTok on Govern-

ment Devices” Implementation Guidance, OMB, M-23-13 (Feb. 27, 2023)

(OMB TikTok Guidance); see also Pub. L. No. 117-328, div. R, §§ 101-02.

The Administration also explained that it had “serious concerns” with

TikTok and would continue to look “at other actions” it could take. Press

Gaggle by Principal Deputy Press Secretary Olivia Dalton, White House

Briefing Room (Feb. 28, 2023), https://perma.cc/92PD-SQ66. And shortly

after TikTok was banned from government devices, President Biden

stated that he would sign a bill banning TikTok altogether. Remarks by

President Biden Before Air Force One Departure, White House Briefing

Room (Mar. 8, 2024), https://perma.cc/58NG-4YAP.

      Moreover, in his latest Executive Order regarding data collection

issued less than six months ago, President Biden announced new pro-

posals to regulate the type of data that “countries of concern,” like China,

have access to through applications like TikTok. See Preventing Access to

American’s Bulk Sensitive Personal Data, 89 Fed. Reg. 15780 (Feb. 28,



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2024). The President specifically described how access to such data allows

these countries of concern to engage in “malicious activities” like “espio-

nage, influence, kinetic, or cyber operations.” Id. at 15781. And under

President Biden, the Department of Justice has continued to defend its

authority over ByteDance and TikTok in the musical.ly acquisition before

this Court. See Petition for Review, TikTok Inc. v. CFIUS, No. 20-1444,

Doc. 1870778 (D.C. Cir. 2020).

      Members of the Executive Branch have also repeatedly testified be-

fore Congress and warned the American public in detail about the grave

national security threats posed by Chinese control of TikTok as well as

ByteDance’s direct links to the CCP. See, e.g., 2023 Threat Assessment

Hearing, supra; Homeland Security Secretary on TikTok’s Security

Threat, Bloomberg (May 29, 2024) (interview with Secretary Mayorkas),

https://perma.cc/W7PQ-68XH; Fireside Chat with DNI Haines, DNI Of-

fice (Dec. 3, 2022), https://perma.cc/L6AY-TL4D. 1 Between the Executive




1 See, e.g., FBI Chief Says TikTok ‘Screams’ of US National Security Con-

cerns, Reuters (Mar. 9, 2023), https://perma.cc/F5WC-7AF3; Cecelia
Smith-Schoenwalder, 5 Threats FBI Director Wray Warns the U.S.
Should Be Worried About, U.S. News (Jan. 31, 2024) (statement of Direc-
tor Wray), https://perma.cc/D3B6-Y3UR.


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Orders, testimony, and its public statements, as well as its filings in liti-

gation brought by TikTok itself, the Executive Branch has repeatedly

made clear its national security concerns regarding TikTok. 2

      Congress. Congress has likewise been quite direct and clear about

its national security concerns. Elected officials from both sides of the aisle

have expressed deep concerns with TikTok’s data collection practices. 3

For example, Senator Warner (D-VA) and Senator Thune (R-SD) ex-

plained that TikTok can “enable surveillance by the Chinese Communist

Party, or facilitate the spread of malign influence campaigns in the U.S.”

Press Release, Senators Introduce Bipartisan Bill to tackle National Se-

curity Threats from Foreign Tech (Mar. 7, 2023), https://perma.cc/X95L-

4CD6. In the House of Representatives, Representative Gallagher (R-WI)

and Representative Krishnamoorthi (D-IL) stated that “[s]o long as



2 Independent agency leaders have express similar concerns. See Bethany

Allen-Ebrahimian, FCC commissioner says government should ban Tik-
Tok, Axios (Nov. 1, 2022), https://perma.cc/WA2Y-XA76.
3 See, e.g., Letter from TikTok Inc. to Senators Blumenthal and Blackburn

(June 16, 2023), perma.cc/4WXM-VR24; Written Testimony of Geoffrey
Cain on Social Media’s Impact on Homeland Security, U.S House of Rep-
resentatives, Homeland Security and Governmental Affairs Committee
(Sept. 14, 2022), https://perma.cc/UDW5-PWW4; Deputy attorney general
warns against using TikTok, citing data privacy, ABCNews (Feb. 16,
2023), perma.cc/GKK7-BX9D.

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[TikTok] is owned by ByteDance…TikTok poses critical threats to our

national security.” Press Release, Gallagher, Bipartisan Coalition Intro-

duce Legislation to Protect Americans from Foreign Adversary Controlled

Applications, Including TikTok (Mar. 5, 2024) (“Gallagher Press Re-

lease”), https://perma.cc/6NHJ-ZQCJ. Likewise, the Congressional Re-

search Service has written several reports on the critical privacy and se-

curity issues in play with respect to TikTok. 4 And Congress held several

hearings and briefings on the matter. 5 At these hearings, members of

Congress, like Senator Rubio, expressed specific concerns about how the



4 See, e.g., TikTok: Recent Data Privacy & Nat’l Security Concerns,
IN12131 (Mar. 29, 2023), https://perma.cc/9E94-3C25; TikTok: Technol-
ogy Overview & Issues, R46543 (Updated June 30, 2023),
https://perma.cc/U9SD-98EM; Restricting TikTok (Part I): Legal History
&      Background,      LSB10940      (Updated    Sept.     28,    2023),
https://perma.cc/UV27-YBRL; Restricting TikTok (Part II): Legislative
Proposals & Considerations for Congress, LSB10942 (Updated Mar. 15,
2024), https://perma.cc/PMW2-2QUB; TikTok: Frequently Asked Ques-
tions     &    Issues   for   Congress,    R48023    (Apr.    9,   2024),
https://perma.cc/U2Q8-3L3N.
5 See, e.g., 2023 Threat Assessment Hearing at 1:09:00, supra; Testimony

of Shou Chew, H. Comm. on Energy & Commerce, No. 118-13, 118th
Cong., 1st Sess. (Mar. 23, 2023), https://perma.cc/6G5S-K77A; Hearing
Memorandum, H. Comm. on Energy & Commerce, No. 118-13, 118th
Cong., 1st Sess. (Mar. 20, 2023), https://perma.cc/3EV6-7AZA; 2023
House Data Privacy Hearing, supra; Protecting Americans from Foreign
Adversary Controlled Applications, H. Rep. 118-417, 118th Cong., 2d
Sess. 1 (Mar. 11, 2024), https://perma.cc/9S3H-GME8.

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CCP manipulates information fed through TikTok and argued that the

application “is probably one of the most valuable surveillance tools on the

planet.” 2023 Threat Assessment Hearing at 1:09:00, supra.

      Indeed, it was concerns about the CCP and its activities targeting

Americans that convinced the House of Representatives to establish the

Select Committee on Strategic Competition between the United States

and the CCP. The China Select Committee, as it is colloquially known,

has repeatedly sounded the alarm over the national security threat posed

by TikTok. See, e.g., Rep. Gallagher Letter, supra. Specifically, the China

Select Committee has noted that “the Chinese Communist Party—and

its leader Xi Jinping, have their hands deep in the inner workings of”

TikTok,” explaining that ByteDance “is legally required to support the

work of the Chinese Communist Party.” See Press Conference to Introduce

the Protecting Americans from Foreign Adversary Controlled Applica-

tions Act, China Select Committee (Mar. 6, 2024) (statement of Chairman

Gallagher), https://perma.cc/NBC3-H3PB. 6 Likewise, during a China



6The States, too, have long been investigating TikTok under their con-
sumer and child protection laws, police powers, and their authority to
protect state systems and critical infrastructure. See, e.g., David Shep-
ardson, State AGs demand TikTok comply with US consumer protection


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Select Committee hearing to discuss the CCP’s support for America’s ad-

versaries, former Secretary Pompeo described TikTok as engaging in “in-

formation warfare” because it delivers different content to Americans

than it does to individuals in China. See Transcript of Hearing on Au-

thoritarian Alignment, China Select Committee (Jan. 30, 2024),

https://perma.cc/XQD2-578Z.

      B. TikTok has failed to respond to these legitimate
         concerns.

      Despite these public concerns, TikTok itself has repeatedly failed to

effectively address legitimate questions from Congress and others on how

it collects, stores, and shares data, including sensitive personal data of

Americans. See 2023 House Data Privacy Hearing, supra. And the fact


investigations, Reuters (Mar. 6, 2023), perma.cc/9NL6-2VPW; Justine
McDaniel, Indiana sues TikTok, claiming it exposes children to harmful
content, Washington Post (Dec. 7, 2022), perma.cc/V2RV-AU3P; see also,
e.g., ICYMI: Attorney General Austin Knudsen Joined Krach Institute to
Discuss Montana’s TikTok Ban and Chinese Spy Balloon, Montana Dep’t
of Justice (Sept. 28, 2023), https://perma.cc/UN8H-2ZNL; Attorney Gen-
eral Miyares Leads 18 State Coalition Supporting Montana’s TikTok Ban,
Office of the Virginia Attorney General (Sept. 19, 2023),
https://perma.cc/27R8-2DAY. Indeed, as of March 2024, thirty-nine
States have barred TikTok from government devices, citing concerns
about the security of state and critical infrastructure systems as well as
state government data. See Cailey Gleeson, These 39 States Already Ban
TikTok From Government Devices, Forbes (Mar. 12, 2024),
https://perma.cc/T7Y4-XJY9.


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that China “has made clear in public statements that it would not permit

a forced divestment,” only reinforces these concerns. TikTok.Br. 2.

      For example, at a congressional hearing last year, TikTok’s CEO

acknowledged that some China-based employees continue to have access

to U.S. data, including sensitive personal data of Americans. Lauren

Feiner, TikTok CEO says China-based ByteDance employees still have ac-

cess to some U.S. data, CNBC (Mar. 23, 2023), https://perma.cc/9LU9-

JBAN. Moreover, when pressed, TikTok’s CEO could not say whether

TikTok sells data to other entities or whether the Chinese government

exerts influence over TikTok. See Louis Casiano & Hillary Vaugh, TikTok

CEO refuses to answer if Chinese government has influence over platform

as    Congress     mulls    ban,     Fox   Business    (Mar.      14,   2024),

https://perma.cc/8BCT-ERTL; Ken Tran & Rachel Looker, What does Tik-

Tok    do   with     your   data?,    USA    Today     (Mar.      23,   2023),

https://perma.cc/2LVQ-3Z6L. And when asked whether ByteDance has

an internal CCP committee, the TikTok CEO punted, responding, “[l]ike

I said, all businesses that operate in China have to follow the law.” See

D. Wallace, TikTok CEO grilled on Chinese Communist Party influence,

Fox Business (Jan. 31, 2024), https://perma.cc/KJ9F-8HJ7. The inability



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of senior TikTok leaders to effectively allay the basic concerns of Ameri-

can lawmakers only reinforces the pervasive and unique threat that Tik-

Tok poses to Americans and our national security.

      C. Project Texas does not mitigate the risks or address the
         ongoing harms.

      Finally, TikTok’s efforts to appease U.S. lawmakers through a plan

to retain American data wholly in the United States (aka “Project Texas”)

have likewise failed to meaningfully eliminate key national security con-

cerns. While the physical location of data storage for American user may

conceivably alleviate some concerns, what really matters is the “leverage”

China “has over the people who have access to that data.” See D. Harwell

& T. Room, Inside TikTok, Washington Post (Nov. 5, 2019),

https://perma.cc/B368-JNN4 . Contrary to TikTok’s claims about how

Project Texas would protect American data and limit the threat posed to

Americans from potential disinformation efforts, TikTok’s own repeated

statements reveal that the CCP continues to have access to user data

stored in America and exercises deep influence on—and control over—

TikTok’s internal decision making. Indeed, TikTok “[m]anagers told em-

ployees that they actually could save data to their computers, and that

there would be exceptions” to Project Texas’s data sharing restrictions.


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Georgia Wells, TikTok Struggles to Protect U.S. Data from Its China Par-

ent, WSJ (Jan. 30, 2024), https://archive.is/a8LtA.

      As long as TikTok continues to use its own algorithm—developed

and managed in China—the CCP is bound to be able to access data, re-

gardless where it is stored. As one TikTok employee stated, “[i]t remains

to be seen if at some point product and engineering can still figure out

how to get access, because in the end of the day, it’s their tools.” See Emily

Baker-White, Leaked Audio From 80 Internal TikTok Meetings Shows

That US User Data Has Been Repeatedly Accessed From China, Buzzfeed

(June 17, 2022), https://perma.cc/7LF4-Y3XD. Indeed, while Project

Texas may look good on paper, former employees have said the project

has been mostly “cosmetic” and has failed to address the core concerns

over the application and CCP access to American data. See Gaby Del

Valle, Report: TikTok’s effort to silo US data ‘largely cosmetic’, The Verge

(Apr. 16, 2024), https://perma.cc/WR45-NZCU.

      In sum, after months of digging deep into TikTok and its operations,

it was clear to key Congressional leaders that TikTok fundamentally

functions as an arm of the CCP in both promoting and censoring data in

the interests of the CCP. And because TikTok fails to meaningfully



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address the national security concerns, Congress was forced to step in

and take action.

      D. Congress passed the Act to resolve the national security
         concerns posed by Chinese control of TikTok.

      The Act addresses these precise concerns. In March 2024, the bi-

partisan leadership of the China Select Committee, along with other key

members of the House, introduced legislation that became the genesis for

the legislation challenged in this matter. See Pub. L. No. 118-50, div. H,

138 Stat. 955 (2024); see also Gallagher Press Release, supra. Relying on

the extensive record built over the preceding months as it conducted its

deep dive into the national security threat posed by TikTok, the legisla-

tion—which was incorporated into a foreign aid package—easily passed

the House and Senate. Roll Call 145: H.R. 8038, Clerk of the United

States House of Representatives, 118th Cong.(Apr. 20, 2024) (passing the

House with a vote of 360-58); Roll Call 154: H.R. 815, United States Sen-

ate, 118th Cong. (Apr. 23, 2024) (passing the Senate with a vote of 79-

18). President Biden signed the bill into law the following morning. See

H.R. 815, 118th Cong., Congress.gov (Apr. 24, 2024). This legislation—

which only requires divestment by ByteDance of the TikTok applica-

tion—and does not effectuate any restrictions on TikTok’s availability if


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divestiture happens—is a measured and sensible response to the na-

tional security threat posed by TikTok. See Pub. L. No. 118-50.

III. The government’s compelling national security interests
     overcome any applicable level of First Amendment scrutiny.

      Having failed to effectively confront the enduring national security

threat that TikTok and its relationship with the CCP poses to American’s

and their data, TikTok now seeks to wrap itself in the American flag,

citing the First Amendment as the core reason the government ought not

be able to force divestiture. See TikTok.Br. 28-38. However, as the United

States correctly explains, the Act does not even implicate the First

Amendment. See USA.Br. 59. This is because the Act doesn’t target any

protected speech nor anyone with free speech rights. Rather, it targets the

CCP’s control of TikTok, and requires divestiture by its Chinese owners

if TikTok is to continue to enjoy unabated access to the sensitive personal

data of over 170 million Americans. See USA.Br. 1-3. Contrary to TikTok

and ByteDance’s claims that there is something unique or untoward go-

ing on here, the federal government has long regulated foreign ownership

and control of companies operating in all sorts of industries. See, e.g., 12

U.S.C. §72 (nationally chartered banks); 16 U.S.C. §797 (dams, reser-

voirs, and similar projects); 42 U.S.C. §§2131-34 (nuclear facilities); 49


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U.S.C. §§ 40102(a)(15), 41102(a) (air carriers). Indeed, the federal gov-

ernment has long regulated foreign ownership telecommunications as-

sets and media, including radio and broadcast television licenses, for

nearly identical reasons. 47 U.S.C. § 310(b)(3) (radio and broadcast tele-

vision); see Pacific Networks Corp. v. FCC, 77 F.4th 1160 (D.C. Cir. 2023).

In Pacific Networks, just last year, this Court upheld the FCC’s revoca-

tion of authorizations for Chinese telecommunications companies to op-

erate communications lines in the United States because Chinese control

of such companies “provid[ed] opportunities for … the Chinese govern-

ment to access, monitor, store, and in some cases disrupt [or] misroute

U.S. communications, which in turn allow them to engage in espio-

nage and other harmful activities against the United States.” Id. at 1162-

63; see also China Telecom (Americas) Corp. v. FCC, 57 F.4th 256, 265-

66 (D.C. Cir. 2022).

      Moreover, even if there is some expressive content on the TikTok

platform that would be adversely affected by a required divesture—alt-

hough TikTok fails to explain what such content might be—Congress can

regulate TikTok’s pervasive and widespread collection of Americans’ per-

sonal data, which is not itself expressive activity. See Sorrell v. IMS



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Health, Inc., 564 U.S. 552, 567 (2011) (“[T]he First Amendment does not

prevent restrictions direct at commerce or conduct from imposing inci-

dental burdens on speech.”); Haig v. Agee, 454 U.S. 280, 307 (1981) (“[N]o

governmental interest is more compelling than the security of the Na-

tion.”). And even if TikTok’s recommendation algorithm might be viewed

as having some expressive function, in that it ostensibly engages in an

editorial function by curating content, such speech is unprotected be-

cause it is the speech of foreign entities—ByteDance, TikTok Global, and

the CCP—none of whom are entitled to First Amendment protection. See

Agency for Int'l Dev. v. All. for Open Soc’y Int’l, Inc., 591 U.S. 430, 436

(2020) (“[P]laintiffs’ foreign affiliates possess no rights under the First

Amendment.”); see USA.Br. 59-60. And while TikTok US may be incorpo-

rated in the United States, TikTok has made clear that the technology

fueling its algorithm is developed in China and is ultimately controlled

by its Chinese parent company, ByteDance, which, in turn, faces inexo-

rable pressure—and control—by the CCP. See TikTok.Br. 24. Nothing in

the First Amendment can be read to shield the covert influence or intel-

ligence collection efforts of a foreign government targeting the American

people.



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      The only even arguably protected speech that might even theoreti-

cally be affected is that of American content creators and (perhaps) any

content moderation performed by TikTok US that is done completely sep-

arate and apart from TikTok’s CCP-dominated recommendation algo-

rithm. There are, of course, a number of reasons why this theoretical im-

pact is not actionable. First, speech rights are personal and cannot be

raised vicariously by others as TikTok seeks to do in this litigation.

Broadrick v. Oklahoma, 413 U.S. 601, 610-11 (1973); see also Murthy v.

Missouri, 144 S. Ct. 1972, 1996 (2024). Second, TikTok has repeatedly

made clear that its content moderation is driven primarily by the core

TikTok algorithm, which is not only built in and controlled by Chinese

entities but is actually significantly responsive to the goals and interests

of the CCP. See, e.g., A Tik-Tok-ing Timebomb: How TikTok’s Global Plat-

form Anomalies Align with the Chinese Communist Party’s Geostrategic

Objectives,   NCRI     and    Rutgers    Miller    Center     (Dec.    2023),

https://perma.cc/4RFG-69RE; see also Fergus Ryan, supra. Third, to the

extent content creators present in this litigation might validly raise their

own First Amendment claims, the fact is that while the First Amendment

may protect relevant expressive activity and content, it does not



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guarantee a particular venue for such speech—particularly when the

venue is a private forum, not a public space controlled by the govern-

ment—and even where it is, the government can impose in reasonable

content-neutral time, place, and manner restrictions so long as they are

content-neutral. See Heffron v. International Soc’y for Krishna Con-

sciousness, Inc., 452 U.S. 640, 647 (1981); Kovacs v. Cooper, 336 U.S. 77,

88-89 (1949). And finally, the availability of a wide and diverse range of

alternative venues for American speech—from Instagram to YouTube

and beyond—must weigh into any analysis of the claimed infringement

of speech rights. See, e.g., Ward v. Rock Against Racism, 491 U.S. 781,

802 (1989).

      And even if these issues were not themselves insurmountable bar-

riers to TikTok’s failed effort to hide behind the U.S. Constitution, the

fact that the Act doesn’t actually inhibit any speech is just such a barrier.

Rather than barring speech, as the government correctly points out,

“Congress expressly authorized the continuation of [] expressive activi-

ties on TikTok so long as the national-security harms could be mitigated.”

See USA.Br. 60.




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      The Act thus has only an incidental—if any—impact on arguably

protected speech. Under longstanding precedent, the Act is therefore law-

ful so long as it is “within the constitutional power of the Government

[and] furthers an important or substantial governmental interest; if the

governmental interest is unrelated to the suppression of free expression;

and if the incidental restriction on alleged First Amendment freedoms is

no greater than is essential to the furtherance of that interest.” United

States v. O'Brien, 391 U.S. 367, 377 (1968).

      The Act easily meets this test. To begin with, the Framers under-

stood national security to be the “principal purpose[]” of government. The

Federalist No. 23 (Alexander Hamilton); see also Federalist Nos. 34, 41.

The Constitution therefore confers upon Congress robust national-secu-

rity authority, see, e.g., U.S. Const. art. I, §8, cl. 3, 11, 12, 13 (to regulate

foreign commerce, declare war, raise and support armies and the Navy),

and vests the President with “[t]he executive Power,” establishes him as

the “Commander in Chief,” id. art. II, §1 & §2, cl.1, and making him the

Nation’s “‘sole organ’” in foreign affairs. Zivotofsky ex rel. Zivotofsky v.

Kerry, 576 U.S. 1, 20 (2015) (quoting United States v. Curtiss-Wright Ex-

port Corp., 299 U.S. 304, 319 (1936)).



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      And as the examples above illustrate, see supra at 20-21, it is well

established that regulating foreign ownership and control of companies

operating within the United States—particularly in the media and tele-

communications industries—is within the scope of these broad powers.

The Act thus falls safely “within the constitutional power of the Govern-

ment.” O'Brien, 391 U.S. at 377. Further, the government’s national se-

curity interest in preventing “the national-security harms that accom-

pany China’s ability to exploit TikTok,” USA.Br. 59, is “unrelated to the

suppression of free expression,” O'Brien, 391 U.S. at 377, especially be-

cause, as noted above, the Act requires divestment of TikTok and nothing

more. For the same reason, any incidental burden on protected speech is

no “greater than is essential to the furtherance of [the Government’s na-

tional security] interest,” id., especially because “[a]ny TikTok users in

the U.S.” who might feel some incidental burden on their speech “have

the option of turning to other platforms.” See USA.Br. 60; see Heffron,

452 U.S. at 647 (“[T]he First Amendment does not guarantee the right to

communicate one’s views at all times and places or in any manner that

may be desired.”).




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      This is the case regardless of what level of First Amendment scru-

tiny might be applied. The Act’s divestment remedy is narrowly tailored

to address the specific national security harms threatened by Chinese

control of TikTok as well the government’s interest in protecting more

than 170 million Americans from the theft and misuse of their sensitive

personal data by proxies of a foreign nation-state and the CCP’s covert

influence efforts. These matters are not simply a compelling interest, but

perhaps the most compelling interest. See Haig, 453 U.S. at 307.

                            CONCLUSION

      For these reasons, the petitions should be denied.



Dated: August 2, 2024                    Respectfully submitted,



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                   CERTIFICATE OF COMPLIANCE

      This brief complies with the type-volume limit of Federal Rule of

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